Case 1:18-cv-23054-JLK Document 11 Entered on FLSD Docket 09/20/2018 Page 1 of 5


                           UN ITED STATES D ISTRICT COURT
                           SOU THERN D ISTRICT OF FLO RIDA

                              CA SE N O .18-23054-CIV -K IN G
  M ARIA A ,LEM BCKE, and allother
  sim ilarly situated under29 ULS C.
                                  .

  216(b),
         Plaintiff,
                                                       O RDER SETTIN G
                                                 TR IA L:M A RCH 9,2020
                                                 PRE-TRIA L:JA NUA RY 10,.2020
  1706 THOM AS STREET , LLC,SIM ON DISCOVERY DEAD LINE:NO VEM BER 6
                                   &MO                              , 2019
  NEMXI,MICHEL CHOURAQUI, J.           TIO N DEAD LINE:NO VEM BER 11,2019
  CHRISTIAN M ARC,

        D efendant.


        IT IS ORDERED and A DJUD GED thatthe abo
                                                ve-styled cause is hereby setfor

 trialonthetwo-weektrialcalendarcommencing M arch 9 2020,at9:00 a
                                                   ,             . m .,at


 theJam esLaw rence K ing FederalJustice Buildin
                                                g,99N .E.4th Street, Eleventh Floor,
 Courtroom #2, M iam i,Florida.

                                      C ALEND AR CALL
 In orderto m ake surethatcasesseton this cal
                                            endarare com pletely ready fortrialand that
 allm atterswhich m ightbe a cause ofdelay ofth
                                               e trialhave been ruled upon, the Court

 hereby schedulesa calendarcallforM arch 5, 2020,at 10:00 a.m
                                                                            .,   atthe Jam es
Lawrence K ing FederalJustice Building 99 N .E.4th Street
                                      ,                 , El
                                                           eventh Floor, Courtroom
#2,M iam i, Florida. A 11D efendants
                                      ,   whetherin pre-trialcustody orreleased on bond
                                                                                         ,

m ustbe presentforthiscalendarcall.

      Underexisting policies and agreem entsbetw ee
                                                   n the state and federalcourtsof
Florida,thejudgewhoentersthefirstwrittenorderscheduling a case fortrialon a date
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   sethaspriority overthe service ofthe attorney so sch
                                                       eduled forthe date set. See
   Krasnow v.Navarro, 909 F.2d 451(11th Cir.1990).

         ltshallbethe duty ofthe attorneysherein setto ens
                                                               urethatnootherjudge
  schedulesthem fora trialthatim pactsupon orconfli
                                                  ctswith the datesetfol'th above. lf
  anycounselreceivesawrittennoticeofatrialfrom anotherjudge, in eitherstate or
  federalcourt, thatin any w ay contlictsw ith thistrialscheduled setti
                                                                      ng,itisthe obligation
  ofthatattomeytonotifythatjudgeimmediatelysothatthejudgem ay reschedulehisor
  hercalendar, thus leaving counselcontlictfree-
                                                    forthiscase.
        Any private agreem ent, suggested orproposed Rule 16 scheduling conference

  agreem entsbetw een counsel, Rule 16 scheduling orderorother courtordersattem
                                                                                      pting to
  setdatesordeadlinescontrary to thisOrderarehereb
                                                  y stricken and declared void.
        The above-styled cause is hereby setfornnalpre-
                                                             trialconferenceonJanuary
 10,2020 at9:15 a. m .,atthe Jam esLawrence K ing FederalJustice Building
                                                                         , 99


 N .E.4th Street, Eleventh Floor, Courtroom #2,M iam i
                                                     , Fl
                                                        orida.
               DISC O VERY AND M O TIO N PRAC TIC E D EA D LIN ES
 Pursuantto So. D ,Fla.LocalRule Rule 16
                                           .   1,the partiesshallabide by the follow ing tim e
 scheduleunderpenalty ofdism issalorothersancti
                                                     ons:

             N O V EM B E R 6,2019:DEADLINE FOR
             CO ND UCTIN G DISC O VERY . N o discovery w illbe
             perm itted afterthisdate, in orderthatthepartiesand the court
             have allfacts ofrecord priorto the deadline forfiling m otions
             and atpre-trialconference M oreover.the partiesshall
                                       .

             exchange expertw itnessreportsN O LATER TH A N 120
             DA YS priorto the pretrialconferencc.
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               N O V EM BER 11,2019:DEADLINE FOR FILING
               A LL M O TIO NS. Pleading practice endson thisdate
               fora responseby opposing party and reply to response exce
                                                                     b pt
               m oving party. ALL M O TION S,IN CLUD ING M O TIy       O NS
               IN LIM INE,SH ALL BE FILED PRIO R TO TH IS
               M oti                                                 D ATE.
                    ons forextension oftim e forrepliesand rt
               cannotbe grant                                 sponses
                              ed dueto thelimited (30-day)timelimitfor
              the Court'sconsideration ofm otionsand
              th                                       responses tsled on
                e lastday. A llunresolved m otionsw illb
              r                                          e considered and
               uled upon atthepre-trialconference.

             TEN dayspriorto PTC :One attorney f
                                                      rom each party having
             authority to enterinto stipulationsand m
                                                       ake adm issionsshall
             m eetto prepare and file the finalpre-trialstipulatio
                                                                n.

             The attorneysm uststipulate to a ilstatem entofthe C
                                                                  ase,''as
             required by the LocalRulesofthe Southern D i
                                                            strictofFlorida.
             ltwillbe unacceptable forthe attorneyst
             S                                        o draftseparate
              tatementsoftheCase(i.e.,one fortheplaintiff, one forthe
             def
                 endant),andthepre-trialstipulation willbesubjectto
             rejectionbytheCourtfornon-compliance A unilateral
                                                       .
            statem entofthe caseby one party isnota stip
                                                        ulation offacts
            ascontem plated by the Rules. This isnottheplace forcounsel
            to m ake opening statem entsorclosing argu
                                                      mentsfortheir
            clients.ltisajointstipulationastotheissuesofthecase.
            JAN U AR Y 3,2020:DEADLINE FOR FILING P
            TR IAL STIPULAT                                         R E-
                                 IO N. Thepre-trialstipulation m ustbe
            Gled withtheClerk ofCourt(nightbox fling isnot
            acceptable).A courtesy copy ofthepre-trialstipulation shall
            bepro
            523 vided to Cham bers Chambersshallbenotifiedat(305)
                                     ,
               -
                 5105 ofany settlem entbetw een the parties b
                                                             y 4:30 p.m .
            on thisdate.

            PRE-TRIA L CO NFERENC E:Theconference
            shallbe attended by atleastone ofthe attorneyswho w ill
            conductthe trialforeach ofthepartiesand by any
           unrepresented party. lfthere are any unresolved pending
           m otions,counselm ustbe fully prepared to presentargum ent
           to the Courtand m ay expectthe Courtto rul
                                                       e on said m otions
           a
           itthe tsnalpre-trialconference. Itisthe purpose ofthe Court
            n setting thisschedule to have a1lissuesresolv
                                                          ed,with
           nothing forthe attorneysto do betw een tsnal
                                                        pre-trial
           conference and trial, exceptto summ on and to prepare their
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                w itnesses fortrial. Itelim inateslast-m inutem otion and
                discovery practice requiring lawyersto respond frantically to
                noticesofdeposition and m otions.

         This Order,establishing thedeadlines forcom pleti
                                                         on ofm otion practice,
  discovery,and filing ofPretrialStipulation shallb
                                                   e strictly follow ed by counsel,
  notw ithstanding any LocalRule orprivate agreem entbet
                                                           weencounsel,any filed (or
  unfiled)proposed LocalRule 16 scheduling deadlines, orany othercoul'torderby other
  Judges in unrelated cases.

         D O NE and O RD ERED in Cham bersatthe Jam esL
                                                       awrence King FederalJustice
  Building and United StatesCourthouse M iam i,Florida,dated this20thday ofSeptem ber
                                        ,
                                                                                       ,

 2018.




                                                 J  E LA W M NCE K IN G
                                                      D STATES DISTR ICT   GE
                                                 SO THERN D ISTRICT OF FLORID A
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